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 6
                                      UNITED STATES DISTRICT COURT
 7
                                      EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,                      Cr.S. 16-001 GEB
10
                         Plaintiff,                 COURT: Hon. Judge Garland E. Burrell, Jr.
11                                                  DATE: January 25, 2019
            v.                                      TIME:  9:00 a.m.
12
     Zalathiel Aguila,                             MEMORANDUM TO CONTINUE
13                                                JUDGMENT & SENTENCING
                         Defendant.
14

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18
            Zalathiel Aguila is scheduled to be sentenced on November 16, 2018.
19
     The parties ask that the Court adopt the following continue this matter to January
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     25, 2019 and that date is available with the Court. The parties request the following
21
     schedule:
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23
            Pre-sentence report disclosed:              December 28, 2018
24
            Informal Objections:                        January 4, 2019
25
            Sentencing Memorandum:                      January 11, 2019
26
            Reply or Non-opposition:                    January 18, 2019
27
            Judgment and Sentencing:                    January 25, 2019
28
                                                    1
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 2   Date: November 6, 2018                                    Respectfully submitted,

 3

 4                                                             /s/ Shari Rusk
                                                               SHARI RUSK
 5                                                             Attorney for Zalathiel Aguila

 6         Based on representation of Defendant, so ordered.

 7         Dated: November 9, 2018

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